       Case 1:22-cr-00096-CKK Document 217-1 Filed 05/08/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :      Crim. No.: 22-96 (CKK)
                                                  :
              v.                                  :
                                                  :
                                                  :
PAULA HARLOW, et al.,                             :
                                                  :
                                                  :
              Defendant.                          :

                                          ORDER

       Based on the government’s request for an enlargement of time to respond to Defendant

Harlow’s Motion to Suppress Statements [ECF # 212] and the defendant’s lack of opposition,

       ORDERED, that the government shall respond to Defendant Harlow’s motion to

suppress by May 11, 2023.



Dated: May ___, 2023




                                                  _______________________________
                                                  COLLEEN KOLLAR-KOTELLY
                                                  United States District Judge
